          Case 2:04-cv-01699-FJM Document 72 Filed 08/29/08 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA


Ralph Nader; Donald N. Daien,                )     JUDGMENT IN A CIVIL CASE
                                             )
         Plaintiff,                          )           CV-04-1699-PHX-FJM
                                             )
    v.                                       )
                                             )
Janice Brewer, in her official capacity of   )
Secretary of State of Arizona,               )
                                             )
         Defendants.


    Pursuant to the Court's order filed this date and upon the Court's instruction therein,

judgment is entered for the Plaintiffs and against Defendant Janice Brewer.

  JUDGMENT ENTERED this 29 day of August, 2008.


                                                 RICHARD H. WEARE
                                                 District Court Executive/Clerk

                                                 s/ Deborah N. Herman
                                                 By: Deputy Clerk

cc: (all counsel)
